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           EXHIBIT 2
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                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
                       PURSUANT TO FEDERAL RULES OF EVIDENCE 803(6) AND 902(11)


                   I, Jennifer Allen, state that I am employed by Meta Platforms, Inc., and that my official title is

          Case Manager, eDiscovery & Information Governance. I am a custodian or other qualified witness as that

          term is used in Federal Rule of Evidence 803(6) of the attached records for such business entity. I state

          that each of the records attached hereto and identified in Attachment A (also attached hereto) is a true

          duplicate of the original record in the custody of Meta Platforms, Inc.

                   I further state that:

                   (A) all records identified in Attachment A were made at or near the time of the occurrence of the

          matters set forth, by, or from information transmitted by, a person with knowledge of those matters;

                   (B) such records were kept in the course of a regularly conducted business activity of Meta

          Platforms, Inc.; and

                   (C) such records were made by Meta Platforms, Inc., as a regular practice.



                   I declare under penalty of perjury that the foregoing is true and correct. Executed on

        September 6, 2024, in Houston, Texas.




                                                                          Jennifer Allen
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                                                 ATTACHMENT A


                            Beg Bates                    End Bates

                            FBDOJ003260795               FBDOJ003260822

                            FBDOJGOOG_00028977           FBDOJGOOG_00028993
                            FBDOJ001489822               FBDOJ001489823
                            FBDOJGOOG_00124139           FBDOJGOOG_00124146
                            FBDOJGOOG_00828926           FBDOJGOOG_00828930
                            FBDOJGOOG_00784059           FBDOJGOOG_00784060
                            FBDOJGOOG_00038404           FBDOJGOOG_00038406
                            FBDOJ012559571               FBDOJ012559602
                            FBDOJGOOG_00276825           FBDOJGOOG_00276831
                            FBDOJGOOG_00857922           FBDOJGOOG_00857926
                            FBDOJ012327277               FBDOJ012327291
                            FBDOJ010863645               FBDOJ010863662
                            FBDOJGOOG_01111517           FBDOJGOOG_01111547
                            FBDOJ003476860               FBDOJ003476861
                            FBDOJGOOG_00780829           FBDOJGOOG_00780831
                            FBDOJGOOG_00861213           FBDOJGOOG_00861214
                            FBDOJGOOG_00779705           FBDOJGOOG_00779742
                            FBDOJ012304337               FBDOJ012304337
                            FBDOJ012387658               FBDOJ012387658
                            FBDOJGOOG_00855903           FBDOJGOOG_00855906
                            FBDOJ012376039               FBDOJ012376040
                            FBDOJ012979686               FBDOJ012979701
                            FBDOJ003189143               FBDOJ003189145
                            FBDOJGOOG_00744539           FBDOJGOOG_00744541
                            FBDOJGOOG_00954175           FBDOJGOOG_00954177
                            FBDOJGOOG_00499093           FBDOJGOOG_00499112
                            FBDOJ009471990               FBDOJ009471991
                            FBDOJGOOG_00251811           FBDOJGOOG_00251814
                            FBDOJGOOG_00274747           FBDOJGOOG_00274752
                            FBDOJGOOG_00991924           FBDOJGOOG_00991973
                            FBDOJGOOG_01176330           FBDOJGOOG_01176373
                            FBDOJ013017855               FBDOJ013017893
                            FBDOJGOOG_00791595           FBDOJGOOG_00791596
                            FBDOJ012641326               FBDOJ012641373
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                            FBDOJGOOG_01000317         FBDOJGOOG_01000345
                            FBDOJGOOG_01131238         FBDOJGOOG_01131247
                            FBDOJGOOG_00884328         FBDOJGOOG_00884329
                            FBDOJ012737577             FBDOJ012737578
                            FBDOJGOOG_01186933         FBDOJGOOG_01186940
                            FBDOJ012956407             FBDOJ012956407
                            FBDOJ012851003             FBDOJ012851012
                            FBDOJGOOG_01140376         FBDOJGOOG_01140379
                            FBDOJGOOG_01495007         FBDOJGOOG_01495016
                            FBDOJ011922116             FBDOJ011922168
                            FBDOJGOOG_01166683         FBDOJGOOG_01166696
                            FBDOJGOOG_01363434         FBDOJGOOG_01363434
                            FBDOJ012357635             FBDOJ012357646
                            FBDOJ008441160             FBDOJ008441160
                            FBDOJ012553858             FBDOJ012553858
                            FBDOJGOOG_00813706         FBDOJGOOG_00813706
                            FBDOJ012983956             FBDOJ012983957
                            FBDOJ012357635             FBDOJ012357646
                            FBDOJGOOG_01271999         FBDOJGOOG_01272003
                            METAGOOG00041092           METAGOOG00041099
                            FBDOJ012234908             FBDOJ012234926
                            FBDOJ002554564             FBD0J002554566
                            FBDOJ012957554             FBDOJ012957560
                            FBDOJ012169959             FBDOJ012169966

                            FBDOJ006139412             FBDOJ006139424

                            FBDOJ012408350             FBDOJ012408350

                            FBDOJ008428099             FBDOJ008428110
                            FBDOJ006078986             FBDOJ006078987

                            FBDOJ006078940             FBDOJ006078940

                            FBDOJ003759763             FBDOJ003759767

                            FBDOJGOOG_01347921         FBDOJGOOG_01347947

                            FBDOJ012610471             FBDOJ012610472

                            FBDOJ012495502             FBDOJ012495504

                            METAGOOG00014136           METAGOOG00014138
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                            METAGOOG00029251           METAGOOG00029256

                            METAGOOG00029238           METAGOOG00029238

                            METAGOOG00029257           METAGOOG00029257

                            FBDOJ012408351             FBDOJ012408377

                            FBDOJ006078941             FBDOJ006078949

                            FBDOJ006078950             FBDOJ006078962

                            FBDOJ006078974             FBDOJ006078983

                            FBDOJ006078984             FBDOJ006078985

                            METAGOOG00029239           METAGOOG00029239

                            METAGOOG00029240           METAGOOG00029245

                            METAGOOG00029246           METAGOOG00029250
